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                         DISCOVERY PLAN WORKSHEET

                                Phase I (Pre-Settlement Discovery)


  Deadline for completion of Rule 26(a) initial disclosures and any          14 days after Rule 26(f)
  HIPAA-complaint records authorizations:

  Completion date for Phase I Discovery as agreed upon by the parties:
  (Reciprocal and agreed upon document production and other discovery        October 16, 2018
  necessary for a reasoned consideration of settlement. Presumptively 60
  days after Initial Conference.)

  Date for initial settlement conference:
  (Parties should propose a date approximately 10-15 days after the          October 31, 2018
  completion of Phase I Discovery, subject to the Court’s availability)

                                Phase II (Discovery and Motion Practice)


  Motion to join new parties or amend the pleadings:                         November 15, 2018
  (Presumptively 15 days post initial settlement conference)

  First requests for production of documents and for interrogatories due     November 30, 2018
  by:
  (Presumptively 15 days post joining/amending)

  All fact discovery completed by:
  (Presumptively 3.5 months post first requests for                          March 8, 2019
  documents/interrogatories)

  Exchange of expert reports completed by:                                   April 8, 2019
  (Presumptively 30 days post fact discovery)

  Expert depositions completed by:                                           May 8, 2019
  (Presumptively 30 days post expert reports)

  COMPLETION OF ALL DISCOVERY BY:                                            May 17, 2019
  (Presumptively 9 months after Initial Conference)

  Final date to take first step in dispositive motion practice:
  (Parties are directed to consult the District Judge’s Individual Rules     June 17, 2019
  regarding such motion practice. Presumptively 30 days post completion of
  all discovery)
                                                                             No
  Do the parties wish to be referred to the EDNY’s mediation program
  pursuant to Local Rule 83.8?
